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O J
  _              NAI.          IN THE INDIANA COURT 0F APPEALS

                                  CAUSE N0. 35Am-CR-00515




                                         W
 Eric Benson Sheen:                               )   Appeal from the Huntington Ci
              Appellant-Dcfendant below           )

                                                  )

 V.                                               )   Lower Court Cause No. 35C01o0812-FA-00073
                                                  )

 State of Indiana                                 )   The Honorable Thomas M. Baku, Judge
              Appellec-Plaintiﬂ' below           )




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                        m THE INDIANA count or urmLs                      J’W 3" awe
                           CAUSE NO. 35A05-0909-CR-00515




                                  W
 Eric Benso- Skeelu                        )   Appeal from the Huntington Circuit Court
        Appellant-Defendant below          )

                                           )
 V.                                        )   Lower Court Cause No. 3SCOI—08] Z-FAM‘B
                                           )
 State ol' Indian:                         )   The Honorable Thom M. ﬂakes, Judge
        Appellee-Phintiﬂ’ below            )




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                           IN THE INDIANA COURT 0F APPEALS

                               CAUSE N0. 35A05-0909-CR-00515

 Eric Benson Sheen:                           )   Appeal from tllc Huntington Circuit Court
        Appellant-Defcndlm below              )

                                              )
 V.                                           )   Lower Court Cause No. 35C01-08] 2-FA-00073
                                              )

 State of Indian                              )    The Honorable Thomas M. ﬂakes. Judge
        Appellu-Pllintiﬂ’ below               )




                                                  L



        A.      Whether the State presented sufﬁcient evidence that Defcndant committed ﬁve

 acts of child molesting where there was no physical evidence supporting the convictions which


 were based solely on the uncormboratcd testimony of the nine-year-old victim, 3M where the

 victim testiﬁed that Defendant did not penetrate her sex organ with an object.


        B.      Whether the trial court erred when it failed lo ﬁnd mitigating circumstances

 clearly supponed by the moord. found improper aggravating circumstances, and imposed


 enhanced, consecutive sentences totaling 187 years. which was inappropriate in light of the


 nature of the oﬁ'enses and the character of the Defendant.


                                                  ll.



                                                                EE

        On December IO. 2008, the State of Indiana ﬁled ﬁve charges against Eric Skecns

 (“Skeens”) alleging that he committed the oﬂ‘enses of child molesting against a single victim.
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 (App. p. l. 9-13). The informations alleged that between March of 2007 and December of 2008,


 Skeens, who was over twcnty-one (2|) years of age. engaged in sexual intercourse with (Count


  l),   performed oral sex on (Count ll), submitted to oral sex from (Count Ill), penetrated, with an


 object, the sex organ of (Count IV), and touched or fondled in order to amuse or satisfy his own


 sexual desires or that of (Count V), a child less than fourteen years ofage. (App. p. l3). Counts


 I   through 1V were each class A felonies and Count V was a class C felony. Skeens ﬁled a


 Demand for Jury Trial on December 16. 2008. (App. p. 22). Skeens also ﬁled a Notice of Alibi

 on January 12, 2009. (App. p. 29). The State ﬁled its response to the Notice 01 alibi on January

  l3, 2009. wherein it stated that time was not of the essence and that the charging informations


 were sufﬁciently speciﬁc based on the memory of an eight-ycar-old child. (App. p. 30). The


 case was set for a three day jury trial that commenced on July 21, 2009.


            Aﬂcr the State rested, Skecns moved fox a directed verdict on Count   W arguing   there was


 no evidence that KW.’s sex organ was penetrated with an object. (Tr. p. 637). The trial coun

 denied the motion for a directed verdict. (Tr. p. 639).    0n July 23, 2009 the jury found Skccns

 guilty of all ﬁve counts.    The trial coun directed the Huntington County Probation Department to

 prepare and ﬁle a Prescmcncc Investigation Report and set the matter for sentencing on August


 3|, 2009. (Tr. p. 703).     0n August 10. 2009 Skecns requested coun-appoimed counsel for his

 sentencing hearing. (App. p. 290).      The trial court granted the request (App. p. 7) and granted

 tn'al counsel's subsequent    Motion to Withdraw. (App. p. 292). On Counts l-IV, each child

 molesting as a class A felony, Skecns was sentenced to the advisory term of thirty (30) yum.


 with ﬂﬂcen (IS) years added for aggravating circumstances.        On Count V, child molesting as a

 class   C felony, Skecns was scammed to the advisory sentence of four (4) years. with three (3)
    USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-3 filed 01/07/22 page 8 of 28


     years added for aggravating circumstances.     The trial coun ordered the sentences on the ﬁve

     counts to run consecutively, for a total executed sentence of 187 years. no pan ofwhich was


     suspended. (Tr. p. 7l7).


             AI the sentencing hearing. the trial court stated,

I            I‘ve gone back through the um. ﬁle.    l would note that we were here for was it three days?
             Something like that of trial. I’ve gone through all the repons, gone through all the
             records. Uh, there’s bccn a judgment of conviction entered on the matters Counts one
I            through ﬁve and in looking it all over, I ﬁnd that thcrc were aggravators and those include
             the position of trust, which l give great weight. Position of care, control and custody
             which goes along with the trust. l give great weight. There were repeated acts. Um, the
I            victim was less than twelve years of age thax the statute speaks of. bu. m fact in this case
             the victim was between seven and eight years old, which is very young Uh, much
             younger than the statute even requires. And there was a threat lo the child if she lold
I            what was going on when the child tried to make an eﬁ'on to tell. l ﬁnd those ale very
             strong aggravators. l do consider the mitigators. and I do know lhal there is no criminal
             history. although l, l did see there was a pending charge the Court doesn't lake that into
.            consideration. and l do ﬁnd no criminal history as a mitigator. L'h, l have considered the
             others likely uh. likelihood that hc would respond to probation. Uh, the adult report risk

I            being three. The offense unlikely to reoccur, that hc has another child, and that he was
             employed. But in considering those, l don‘t ﬁnd those lo be mitigators. l ﬁnd that the
             mitigators strongly outweigh the aggtavators. Great weight is given to position of trust.
'            When l heard the cvidencc the child had no place lo go. She described waking up in the
             mornings and mom would be at work and dad, albeit stepdad would gel her up so she
             could go to school. And the testimony was that he would engage in sexual acts with her
I            prior to her going to school. And hc was the one that she looked lo protect her. Position
             of trust carries great weight. l have also looked over uh. the uh deﬁnition of restricted
             felon. and I ﬁnd that he is a child molester as set out by statute. That he is older than age
I            twcmy-one. and that the child is younger than twclvc, and l do a ﬁnding on those facts.
             0n Count onc l sentence you to thiny years and l add ﬁﬁecn for aggravating
             circumstances. On Count two l sentence you lo thiny years and add ﬁﬂeen for
'            aunvating circumstances. On Count three l sentence you lo thirty years and add ﬁﬁecn
             for aggravating circumstances. And on Count four! sentence you to thirty years and add
             ﬁﬂeen for aggravating circumstances. And on Count ﬁve l sentence you to four years and
'            add three years for aggravating circumstances. l suspend none of um time, all time lo run
             consecutive. You have the right lo appeal this conviction. If you wish Io appeal, you
             need ﬁle either a motion for that. uh within thirty days of that, this date and l am
I            appointing Jeremy Nix for purposes of appeal.

     (Tr. p. 7| S-7l7).
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          On September I. 2009, Skeens ﬁled his Notice of Appeal and Puccipe for Transcript.

 (App. p. 302-303). The trial coun appointed appellate counsel for Skeens. (App. p. '7). The trial


 court clerk ﬁled her Completion of Clerk's Record on September IS. 2009 and her Notice of


 Completion of Tmscripl on December 21, 2009. (App. p. 7, 304). This Bticf is ﬁled in support


 of Skecns‘ appeal.


                                                [IL




          Eric Skecns, his wife, Rachel. and his stcpdaughtct, K.W., moved to Huntington, Indiana


 in   May of2005. (Tr. 450). KW. was ﬁve years ofagc at the time and enrolled in Flint Springs

 Elementary. (Tr. p. 45]). Skeens and Rachel divorced on June 30. 2006, bul continued to live


 together. (Tr. p. 451). ln Septembet of 2007. Skeens, Rachel, and K.W. moved into a home


 located at 338 William Street in Huntington. (Tr. p. 453). Following the move,   KW. transferred

 lo Horace Mann Blememmy in Match of 2008 while in the second grade. (Tr. p. 455). Rachel


 and KW. continued to live with Skecns on William Sweet until June of 2008 when Rachel Icﬂ

 him. (Tr. p. 456).


          Rachel became a Certiﬁed Nursing Assistant (CNA) in September of 2007. (Tr. p. 457).


 Her ﬁrst job as a CNA was on third shiﬂ al Nomads Nursing Home. where she worked from

 11:00 pm. lo 7:00 am. (Tr. p. 458). Rachel then worked at Parkvicw Home Health       & Hospice,
 where she had lo be at her patient‘s house by 8:00 a.m. during the week and typically worked


 every third weekend. (Tr. p. 462).   When Rachel had to leave early for work, Skeens‘ would put

 K.W. on the bus. (Tr. p. 46] ). Skeens would also watch KW. while Rachel worked on the

 weekends. (Tr. p. 463).   Even aﬂer Rachel Ieﬂ Skeens. Skccns maintained a relationship with
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  K.W. and would have her for visits on some weekends. KW. did not have a relationship with

  her biological father and considered Skecns as her father. (Tr. p. 464).


          On December S. 2008. the school counselor at Horace Mann Elementary showed a video

  to K.W.'s third grade class titled. “Breaking the Silence, Children Against Child Abuse." (Tr. p.


  4| l). The video contained a segment on sexual abuse. (Tr. p. 412). The general theme ofthc


  video was that if abuse was occurring against a child. the child should tell an adult. If the adult


  does nothing, the child should tell another adult until someone provided help. (Tr. p. 4| 2). The

  sch!“ ~nunsclor instructed the students to write in their reﬂection journals following the video.

  The students wcrc told that if they needed help, they should write the word “help“ on their

 journal paper. (Tr. p. 41 3). While the counselor was observing the children writing in their


 journals. K.W. indicated she wanted to talk to the counsclm. (Tr. p. 414). After speaking with


  K.W.. the school counselor called the Huntington County Department of Child Services.        (Tr. p.


  416).


          Aﬂcr receiving the initial report. the Huntington County Department of Child Scrvim

  (“HCDCS”) decided to investigate lhc report immediately. (Tr. p. 434). Caseworker Nicole

  Allen (“Allen”) spoke to the child‘s mother at the HCDCS headquaners. (Tr. p. 435). Allen


 contacted law enforcement. the Prosecutor‘s Oﬁicc, and McKenn'c‘s Hope Child Advocacy


 Center to schedule an interview later that day. (Tr. p. 437). Following the interview. an


 appointment was scheduled for KW. lo be examined at the Fort Wayne Sexual Assault


 Treatment Ccmct. (Tt. p. 44] ).


          At lhc Fon Wayne Sexual Assault Tteatmem Center. KW. was examined by Slumn

 Robison (“Robison”). a sexual assault nuts: examiner. Robison testiﬁed at trial that KW. had a
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  normal examination, meaning her hymen was perfect with no injury and her anus was also


  perfect. (Tr. p. 590).      Robison further testiﬁed that in ninety to ninety-ﬁve pcmcm of children

  examined there will be no physical injury noted. Shc testiﬁed that injuries heal quickly because

  lhc female sex organ is very vascular so there is a lot of blood flow. (Tr. p. S93). Robison


  testiﬁed that basw on the minor's medical history and time from the last alleged assault. she did


  not expect to ﬁnd any medical cvidcncc of sexual assault. (Tr. p. 593).


           K.W. testiﬁed al ltial against Skeens. K.W. testiﬁed Skeens touched her on her private

 mm while living       at 338 William Street in Huntington.       The touches occurred while they were in

 the living room. bathroom. and her parents‘ bedroom. (Tr. p. 516).           K.W. testiﬁed that Skecns sat

 her on the bathroom sink on a towel that he later used to wipe up the white stun” that came out of


 her private. (Tr. p. $18). While she sat on the sink. Skeens put his private inside her private.        ll



 hurl when he did so. (Tr. p. 52l).        Hc would move around and white stuffcamc out of his private.

 (Tr. p. 522).    It looked kind   of white and a little bit bubbly. He would then lake a towel and wipe

 it off.   (Tr. p. 522).   When she went to the bathroom aﬂcr this happened it bumcd. (Tt. p. 523).

           KW. also testiﬁed that Skccns touched hct private with his tongue and with his ﬁngets.

 (Tr. p. 523).    The touching of het private with his tongue and ﬁngers occurred in the living room

 and her patcms‘ bedroom.          (Tr. p. 524).   K.W. testiﬁed that she would lay on he: back with

 Skecns below her and under her legs. which were separated.            (Tr. p. 526).   Skeens would then lick

 her private with his tongue. which felt wet and weird. (Tr. p. 527).         KW. funhcr testiﬁed that
 Skccns would touch hct privates with his ﬁnger while in the living room. bathroom. and he:

 pannts‘ bedtoom. (fr. p. 529). She indicated he touched the outside of her private and would


 rub. (Tr. p. 530).    Skecns would use one ﬁnget on both hands lo rub her pn‘vata in cisclea (Tr.
USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-3 filed 01/07/22 page 12 of 28


 p. 53 l ).   He would touch where she       gm pony.     (Tr. p. 531).   KW. also testiﬁed Skeens would

 put his private in her mouth. (Tr. p. 533). That occun'cd in the living room and her parents’


 bedmom. (Tr. p. 533). She would lay on hct back while Skeens was on his belly on top of her

 like a push up.    (TI'. p.   534).   He would put his private in her mouth. (Tr. p. 535). Finally. K.W.

 indicated that Skeens would touch her boobs with his ﬁnger and mouth. (Tr. p. 537).              He would

 rub hcr boobs with his ﬁngers and lick them with his tongue.             (Tr. p. S38).


            KW. described Skccns‘ privates as a long type of mushmom shape with a hole. (Tr. p.
 “’°—39). She indicated that Skecns would show her pornographic movies, one of which was


 called “Real Sex."     These movis would be shown on the ﬂat screen television in the living room

 and on the television in the playroom. (Tr. p. 541-42). Skecns would touch her privats with his


 tongue, ﬁnger. and his privates while they were watching the movies. (Tr. p. 542).


            On one occasion. K.W. tried to leave the bedroom while the abuse was occurring.

 However. Skeens told her that if she did not come back he would call the police and they would

 tell her   mom. K.W. testiﬁed she went back because she was scared. (Tr. p. $44). KW. testiﬁed

 that the intercourse. oral sex, and fondling occurred in the home located at 338 William Sued in


 Huntington. (Tr. p. 548).


            Aﬁet K.W. was examined a1 the Sexual Assault Treatment Center, she was referred to the

 Bowen Center in Huntington for counseling. K.W.'s counselor testiﬁed that it was very common

 for children to delay before talking about sexual abusc. (Tr. p. 622).           The counselor further

 testiﬁed that   KW. was able to sort out reality and that      it   had been very uncomfortable for her lo

 talk about what happened. (Tr. p. 626-27).
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                                                       [L


           A.          There was insufﬁcient evidence to ﬁnd that Skeens penetrated the sex organ of


 K.W. with an object, or that he committed any other act that would constitute child molesting

 under the Indiana Code. Although even the slightest evidence of penetration is sufﬁcient to


 establish criminal deviate conduct,       KW. testiﬁed (hat Skecns touched the outside of her ptivates

 with his ﬁnger and there was no physical evidence to support a ﬁnding that Skeens penetrated


 KW    ‘

                t   organ. In addition, K.W.’s testimony was the sole evidence that Skeens committed


 any act that would constitute child molesting. K.W.’s tatimony was completely incndulous, as

 she testiﬁed that much of the abuse occurred while Skeen‘s ﬁve-year-old son was present in the


 home. Thus, the State failed to present suﬁcient evidence that Skeens committed the oﬂ'ensc of

 child molesting.


           B.          The trial coun failed to ﬁnd valid mitigating circmnstanccs supponed by the

 record, found improper aggravating circumstances, and imposed a sentence that was inappropriate


 given the nature of the offenses and the charactet of Skeens. Skeens had absolutely no criminal


 histoly prior to his conviction in this case.     He had served as the only fathet ﬁgum to K.W. for a

 substantial period of time before the molestation was found to have occurred.       Skeens had bean

 employed for a long period of lime and had full custody of his ﬁvc-ycar-old son at the time of his

 arrest.   The oﬁ'ense was unlikely to recur as Skeens was divonced from K.W.’s mother and has no

 more contacl with KW. He also scored low on the probation depanmem‘s Adult Risk

 Assessment Instrument. The trial court failed to consider any mitigating factor other than Skecns‘

 lack of criminal history when it sentenced Skeens to enhanced, consecutive senienees totaling I87
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 years.   The sentence imposed by the trial ooun was disproportiom to sentences for similat

 oﬂ‘enders imposed by the Indiana Conn of Appeals and the Indiana Supteme Conn. Thus,


 Skecns's sentence must bc revised.


                                                     L<




                          W              l   l                                           NI)




                                             W
                                                                          -




          ...   suﬁciency ol‘ the evidence claims. the court on appeal will not nweigh the evidence

 norjudgc the credibility of witnesses.                   638 N.E.2d l236. 1242 (Ind. I994). The

 court will look to the evidence tha! supports the verdict and all reasonable inferences that can bc


 drawn therefrom.       mm.             681 N.E.2d ”05. lllo (Ind. 1997). The com will aﬁ'um a


 conviction if there is probative evidence from which a masonablc jury could have found the


 defendant guilty beyond a reasonable doubt. lg. The uncorrobonwd testimony of a child victim


 is suﬁ'lciem lo suppon a conviction for child molwling.      um,             648 N.E.2d 709. 713 (Ind.

 Ct. App. I995).




 a class A felony, which requires                                                  W,
          Evidence of a touching without more does not suppon a conviction for child molesting as

                                      ‘Wmﬁon of the female sex organ." $3
 N.E.2d 3 I 2. 3 I 5 (Ind. I997). Proofofthc slightw penetration is enough lo suppon a conviction.
                                                                                                    675




 8:   2mm                 540 N.E.2d 39, 40 (Ind. I989). Howevcn there mus! be proofofcvcn the

 slightest penetration.


          In this case. Skecns was charged with pctfonning sexual imacoune with         KW. in Com!    I
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 and pcrfonning deviate sexual conduct with KW. by penetrating, with an object. her female sex

 organ in Count IV. The State submitted a jury instruction that a ﬁnger is an “object" for purposes


 of the criminal statute deﬁning deviate sexual conduct and ugued that Skecns should be convicted


 ofCount IV for penetrating K.W.’s sex organ with his ﬁnger. The nurse examiner who performed

 the sexual assault examination of K.W. indicated that there was no physical evidence that K.W.


 was the victim ofscxual abuse. 11m nursc examiner testiﬁed that KW. had a normal

 examination. meaning her hymen was perfect with no injury. The only evidenci- “Iat could


 u......h penetration of K.W.’s sex organ by Skecns’ ﬁnger was the testimony of K.W.      0n direct

 examination.   KW. was speciﬁcally asked by the State, “Did he touch your private with his tinge:

 on the outside or the inside or ....," to which KW. replied, “The outside.” (Tr. p. 530). The State

 subsequently asked K.W., “Did he eve: touch the inside of your private with his ﬁnger?’    KW.

 replied, “Mm, not really." (Tr. p. 53 I ).   When K.W. was asked “Did he ever touch the, the pan of

 your private where you go potty or anywhere like that?” K.W. replied, “Y6." (Tr. p. $3l).


 However, KW. never distinguished her “private" and the pan Mien she goes potty." When

 subsequently asked, K.W. reiterated that Skeens “touched the outside of il (her private)" (Tr. p.


 $32).   The testimony of K.W. never established that Skeens penetrated her sex organ with his

 ﬁngct. She speciﬁcally dcscﬁbed rubbing in soﬂ circles on the outside ofhcr private.    The

 touching or rubbing of her private by Skeens would only suppon a conviction f0: child molﬁng


 as a class C felony. Thus, the State failed lo ptcsem sufﬁcient evidence that Skeens‘ tinge:


 penetrated. even slightly. the sex organ of K.W. to sustain a conviction for Count IV. child


 molesting as a class   A felony.



                                                     IO
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          It is well settled that the   uncomborated tutimony of the prosecuting witness is sufﬁcient

 lo sustain a conviction for child molcsﬁng, even though the victim in a minor.        5mm,           432


 N.E.2d I363, 1372 (Ind. I982). However, in this case, the testimony of KW. was wholly

 incredible and unsupported by any physical evidence.


          At the lime of the alleged molestation. KW. was approximately eight years of age. She

 described Skeens engaging in sexual intercourse with her while she sat on the ball.          n sink. She


 described that he would put his private in her private and move around.         Aﬁer he did this, while

 stuff would come out of his private.       However, duting her sexual assault examination. KW.

 indicated she only saw two small drops of blood following the intercourse, and that it burned


 when she went pee. (Tr. p. 523, 595). Otherwise, her examination was completely normal and

 her hymen was intact.     It   was wholly incredible that Skccns, a twcnty-seven-yw-old man, could

 engage in sexual intercourse as described by K.W., an eight-ycar-old girl, without mom injury

 than a fcw drops of blood and burning during urination.       It   must bc noted that K.W. also tcsiiﬁcd


 that she has wmched pornography. (Tr. p. S4] ).        The pomogmphy showed three or four people

 touching each others privates. (Tr. p. 543). The most plausible explanation for what KW.


 described was what she saw on the pornographic movies.


          K.W. further testiﬁed that Skeens put his ptivale in her mouth. She described that she was

 on her back and Skecns was on his arms like a push-up. (Tr. p. 535). She described that he would

 “just keep i1 in my mouth" and “he would son of push." (Tr. p. S36). Just placing his private in


 K.W.‘s mouth without more does not indicate any intent lo satisfy the sexual desires ofeither


 party.   The description given by KW. is wholly incredible and mom plausibly explained by her


                                                       ll
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 viewing pomogmphic movies, hm no' understanding what she observed.


         Rachel testiﬁed that shc watched pornography with Skecns when the two ofthcm were


 alone in the home.   They watched the pornography on the computer in the dining room, which

 could also bc viewed on the big screen television using the computer. (Tr. p. 486). Rachel also


 allowed K.W. to use that same computer. (Tr. p. 486).


        KW. also described that Skeens' ﬁve-year-old son was present in the home when the

 molestation would occur. She indicated that Skeens would send his son to pla,          .th his cars



 while he molested hcr. She also indicated that Skccns’ son would try to gel Skecns to play while


 he was molming K.W., and that Skeens would stop to play with his son for a few minutes before


 he would come back and touch her privates.   (Tr. p. S45).   ll is   wholly incredible that Skeens

 would alternate between playing with his ﬁvc-year-old son and molesting his eight-ycar-old

 stepdaughtet.


        K.W. testiﬁed that a wide range ofscxual acts occuned between her and twenty-scven-

 year-old Skccns.   She indicated that Skccns would alternate between molesting her and playing

 with his ﬁve-year-old son. However,   KW. also described watching pornographic videos where
 those same sexual acts wue portrayed.   The pomogmphic videos wet: shown on the compute in

 the dining room, which K.W.’s mother allowed K.W. to use.        Dupitc the age and size diffu‘encc

 between KW. and Skeens. there was no physical evidence ofsexual assault found during K.W.‘s


 examination. Thus, the testimony of K.W. was wholly incredible and does not support Skeens’


 convictions for child molesting.




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           Sentencing decisions ms! within the discretion of the trial com and arc reviewed for an


 abuse ofdiscrction.    Monggm v, sgtg, 756 N.E.2d 499. 501 (Ind. 200l). l! is generally within the

 trial court’s discretion to determine whether an advisory sentence will be enhanced due to



 aggravating factors.   An abuse of discretion occurs when the decision is clearly against the logic



 deductions to be drawn therefrom.     mm
 and effect of the facts and circumstances before the ooun, or the reasonable, probable, and actual

                                                           868 N.E.2d 482, 490 (Ind. 2007).

           In this case. Skecns submitted several proposed mitigating factors that wen supported by


 the record. Several ofthose sentencing factors wen set out in Ind. Code § 35-38-l -7.I(b) (2009).


 Those factors included a complete lack of criminal or juveni|e history ((b)(6)). the likelihood that

 he would respond positively lo probation ((b)(7)), the low adult risk assessment instrument soon


 provided by the probation department ((b)(7)), that the oﬂ'ensc was unlikely to recur ((bX2)). that


 he had custody of his son. which would result in undue hardship if Skeens was imprisoned for a


 substantial period of time ((leO», and that he had a steady employment history. LC. § 35-384-


 7.l(b).   Aﬁer considering those pmposed factors. the trial court found that only the lack of any

 criminal history was mitigating.   However. the balance of the mitigating factms proposed wen

 valid and supported by the   mod.
           The Huntington County Probation Department included the Adult Risk Assessment

 lnummcm as pan of the presentencc invcstigaﬁon repon. (App. p. 359). 0n that insmmcm.


                                                   l3
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 Skecns scored a total of three points. which indicated a low level of supervision was needed. Two


 points were given for Skcens’ failure to earn above a high school diploma, although he had taken


 courses at Ivy Tech. (App. p. 353).   The third point was assessed based on the probation omccr

 giving no expectation of Skeens complying with pmbation. (App. p. 359). Skecns had never


 been on probation, so hc had no prior probation violations.


        The probation oﬁicer noted that Skcens had been employed full-time for at least nine

 months before his attest. (App. p. 3S9). Skecns argued that he had been employee .-. a

 substantial period of time and had been a pmductive member of society. (Tr. p. 709). That State




 have found that a steady employment history was a proper mitigating factor. ﬁg


 918 N.E.2d 428 (Ind. Ct. App. 2009). and
                                                                                     W
 did not dispute that Skeens was engaged in full-timc work, but argued that the factor should no! be


 given mitigating weight. (Tr. p. 7| 1-712). However, this Court and the Indiana Supreme Conn




                                             W.              915 N.E.2d I41 (Ind. 2009).

        Skecns also argued that he had custody of his six-year-old son. and that his son would


 suffet undue hardship if hc was imprisoned for a substantial period of time.   The mother of

 Skecns‘ son wrote to thc ttial com that Skeens was “the best dad ever." and that his son “needs


 his dad.“ (App. p. 294). Finally. Rachel testiﬁed at trial that she leﬂ Skccns in June of 2008.     As

 Skecns was not the biological father of K.W.. he has no legal right any funhcr contact with her,


 making the crime unlikely to ncur. That State acknowledged that Skeens will no longer have

 contact with K.W.. (Tr. p. 7] l). Thus. the trial court‘s failure to ﬁnd the statutory mitigating


 circumstances supported by the record and those mitigating circumstances recognized by this


 Conn and the Indiana Supreme Court was an abuse of discretion.

        In ngard to aggravating circumstances. the trial   com listed ‘posilion of trust; position of

                                                   l4
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 cam; custody and control; repeated acts; age of victim being 7 & 8 years old; threats lo the

 victim." (App. p. 301 ).


 enhance a sentence.    53   W.
                             It is well settled that a trial court   may not use elements ofa crime to

                                                 687 N.E.2d 345. 347 (Ind. 1997). In this case. the age

 of K.W.. being less than founccn years of age, was an element ofmh count ofchild molesting.


 &   Ind. Code § 35-42-4-3(a)-(b) (2009).        Skeens indicated to the trial court that the age ofthc


 victim was an clement of lhc crime and an improper aggravating circumstance. (Tr. p. 714). In


 somecases.thctrial commusedxcageofavictimasanaggmvatingcircumstmceit nwasalso


 an clement of the crime. but the trial court must articulate panicularized circumstances related to


 the crime before it can do so.    W.              782 N.E.2d 398. 414 (Ind. Ct. App. 2003). ln this

 case. the trial coun simply stated. “Um, the victim was lcss than twelve years of age that the


 statute speaks of, but in fact in this case the victim was between seven and eight years old, which


 is very young. Uh,   much younger than the statute even requires." (Tr. p. 7| 5). However. the trial

 coun did not articulate how thc age ofthe victim. being younger than that requil'ed by statute,

 created a panicularizcd circumstance that made the crime more sevctc. Thus. the age of K.W.              o

                                                                                                          gnu




 cannot serve as an aggravating circumstance.


        The trial court stated at sentencing that “l ﬁnd that there wcrc aggravalors and those

 include the position of tmst. which I give great weight. Position of care, control and custody


 which goes along wim the trust, I give great weight." (Tr. p. 715). One statutory aggravating

 circumstance is that “[tlhc person was in a position having care. custody, or contml of thc victim


 of the offense.”   Ind. Code § 3S-38-l-7J (2009). In fact. the State speciﬁcally cited section 7.1


 when it referred to the “position of trust“ aggravating circumstance. (Tr. p. 712). “The position

 of trust aggravator is frequently cited by sentencing couns when an adult has committed In



                                                       IS
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 oﬂ'ense against a minor and mere is at lust an infetcncc of the adult’s authority over the minor.”


 mm;                  868 N.E.2d 551. SSS (1nd. Ct. App. 2007). However. the trial court did not

 articulate how the “position of trust" and the “position of care, custody and control" were


 distinguished as aggravating circumstances.     The trial simply listed both factors and indicated,

 multiple times, that il gave both aggravating cimumstanccs “great weight." This Conn has




    W,
 reviewed the “position of care“ aggravator under the same decisions reviewing the “position of




 W,
 trust” aggravator.   m                      909 N.E.2d 1093, l 100 (1nd. Ct. App. -J09) (giﬁng

                      673 N.E.2d l185, H98 (1nd. l996)_mh§g$niﬁ.). The two aggravating

 circumstatm arc synonymous and should not have bwn considered as two separate aggravating

 circumstances.   Thus, it was an abuse of discretion for the trial coun to list both “position of

 trust" and “position ot'carc, custody and comm!" as aggravating cimumslances and lo assign them


 both “great weight."




        The Indiana Constitution was amended in I970 to grant the appellate courts the authority

 lo “provide in all cases an absolute right to   the... review and revision of sentences for




 N.E.2d 1169. 1174 (ind. Ct. App. 2003).    m. m.
                                                                               W,
 defendants in all criminal cases." Indiana Constitution Article Vll, Section 6 (2009). The


 purpose ofthc amendment was lo provik mom uniformity in sentencing.


                                                            Pursuant to this authority, the Indiana
                                                                                                       785




 Supreme Conn adopted Appellate Rule 7 lo guide the couns in reviewing and revising semenca

 for defendants. Appellate Rule 7(B) provides that “[t] he coun may revise a sentence authorized


 by statute if. aﬂcr due consideration of the trial court's decision, the coun ﬁnds that the sentence


                                                    16
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 is inappropriate in light of the nature of the oﬂ‘cnsc and the character of the offender.“



 App.R.7(B).   When the Indiana Supreme Conn made the change lo Appellate Rule 7(8). the

 thrust was changed from a prohibition on revising sentences unless cenain narrow conditions arc


 met to an authorization to tevisc sentences when certain bmad conditions     m   satisﬁed.   Mu
 m     826 N.E.2d 635. 639 (1nd. 2005).

         In this case, Skcens was convicted of ﬁve counts of child molesting.     Any act ofchild

 molesting is heinous. However. K.W. testiﬁed that all of the offenses occurreo while she lived at


 338 William Street in Huntington. K.W. lived at that address with her mother and Skccns for ten


 months, from September of 2007 until June of 2008. Skeens, Rachel and KW. had all lived


 togethct for over ﬁve years, from May ol' 2003 until June of 2008. During that time, Skecns had


 acted as hct father. as K.W. had no relationship with her biological father. Even aﬁct Rachel and


 K.W. moved out of Skecns' home, KW. and Skecns continued to have a relationship. There was

 a long period oftimc when the relationship between Skeens and KW. was constructive prior to

 the alleged molestalion.   $3   W.             9| 5 N.E.2d at I43.


        There was no evidence that Skccns inﬂicted substantial physical injuriw on K.W.. In ﬁct,

 the nurse examiner noted that K.W.‘s genitalia wcte perfect.    Then was also no evidence that

 Skecns used force or threatened to use force to compel KW. to participate. with the exception of


 one incident where K.W. indicated that Skccns threatened to tell the police. who would tell her

 mom. if she told anyone about the abuse. Thus, the nature of the olfcnses do not justify the

 imposition of a enhanced scmcnm. with me sentences lo run consecutively.


        1h: character of Skcens was shown by his complete lack of prior criminal convictions. He

 had custody of his ﬁvc-ycar-old son at the time of his   m.    and had maintained study



                                                   I7
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 employment for a substantial period of time. Skecns was not given the opportunity to be placed

 on probation, although his adult risk assessment instrument score showed a low level of

 supervision was needed. Thus. the character of Skecns docs not support the imposition of


 enhanced, consecutive sentences totaling 187 years.


        ln reviewing the appropriateness of sentences revised by this Conn and the Indium


 Supreme Conn. a sentence at thc advisory level for each count, to be served concurrently. is more

 appropriate and would provide uniformity between Skeens’ sentence and that of simuarly situated


 defendants.   $3   3mm,           9| S N.F..2d 141 (The defendant‘s sentence was revised to


 concurrent terms of thirty yeats on two class   A fcloniu for child molesting and a class C felony

 for child molesting where the defendant molested his seven or cight-ycar-old niece on two




 to the victim for a number of years before committing his crimes);    W,
 occasions. had no prior convictions, maintained steady employment, and served as a fathu ﬁgure


                                                                                       918 N.E.2d

 428 (The defendant‘s sentence was revised to concurrent terms ofthiny-six years on two class A

 felony convictions for child molesting and six years on four class C felony convictions for child




 history and maintained steady employment).      W
 molesting whet: defendant repeatedly molwcd onc ﬁvc-year-old child, but there was no evidence


 the child sustained any injuries, defendant was in a position of trust. but defendant had no criminal


                                                                    767 N.E.2d 967, 974 (Ind. 2002)

 (The defendant’s SO year sentence was reduced to 40 years where the defendant molested a ﬁve-




                                                           W,
 ycar-old girl that he babysat, the defendant had maintained gainful employment throughout his


 adult life. and had a remote felony criminal his!ory.);                897 N.E.2d 927, 930 (Ind.

 2008) (The defendant's sentence was revised ﬁ'om consecutive to concurrent sentem of SO


 years each for two counts of child molating as class A felonies where the defendant was in a
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 position of trust when he repeatedly molested an eight-ycar-old girl and defendant had a ptiot


 criminal hismty);   MW.              886 N.E.2d 578. 580 (Ind. 2008) (The defendant’s sentence

 was revised from ﬁve consecutive twenty-two year sentences with two years suspended, totaling

 100 years, to ﬁve concurrent sentences of ﬁfty years on ﬁve counts of child molesting as class A


 felonies,   when thc defendant was in a position of trust with his victim who he molestgd

 repeatedly over two years. and the defendant‘s criminal history was driving-relaled.) Therefore,


 Skecns requests that this court exercise its power under the Constitution of the State of Indiana

 and Appellate Rule 7(8) lo review, revise. and reduce his sentence to the advisory sentence on

 each count. with the counts to run concurrently with each other.




                                            mm     _V_l_.




         For the foregoing reasons, Eric B. Skeens respectfully requests that this honorable Conn


 ﬁnd that thcrc was insuﬂ‘lcicm evidence to support his convictions, or in the alternative. ﬁnd that

 the trial coun erred when it failed to ﬁnd valid mitigating circumstances. found improper


 aggravating circumstances. and imposed a sentence that was inappropriate in light of the name of


 the oﬂ'cnscs and character of Skccns and the! was completely disproportionate to similariy


 situated defendants, and to exercise its authority undet the Constitution of the   Sm: of Indiana,

 Anicle Vll, Section 6, and Indiana Appellate Rule 7(8). and review, revise. and reduce his


 sentence. and for all outer just and proper relief in the ptemises.




                                         Respectfully submitted,
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      STATE OF INDIANA        IN THE HUNTINGTON CIRCUIT COURT
                                                 SS:
      COUNTY OF HUNTINGTON




                                                   W
                                                       )
      STATE 0F INDIANA                                 )
                                 Plaintiff             )
                      VS.                              )   CAUSE No.35001-0812-FA-00073
                                                       )
      ERIC B. SKEENS                                   )

                                 Defendant             )




             State appears by Prosecutor Amy Richison. The Defendant appears in person
      Ind by counsel. Jeremy Nix. Matter comes on for sentencing. The pre-samence repon
      has been ﬁled with the court and is made a pan of the sentencing hearin. .eoord.

              The defendant having been found guilty by a jury on the 23ed day of July. 2009.
      to the cn‘mes of count l through count IV. Chad Molesting. each a class        A
                                                                              fetony and
      count V. Child Moiesting. a class C felony. the court entered judgment of conviction.

                  The Court ﬁnds and considers the following factors as aggravating: Posiﬁon of
      trust; position of care: custody and control; repeated acts; 898 of victim being 7   a8
      years old; threats to the victim.

                  The Court finds and considers the following factors as mitigating: Lack d criminal
      history.


             The Cour! ﬁnds that the aggravating factors outweigh the mitigating factors for
     the following reasons: Aggravator of position of trust is given great weight.

              It is Ordered and Adjudged that the
                                                   Defendant. Eric Skeens. be and he hereby is
     sentenced to the Indiana Department of Correction on counts I, ll. III and IV for a period
     of thirty (30) years to which ﬁfteen (15) years will be added for aggravating
     circumstances for each count; and on count V for a period of four (4) years to which
     three (3) years will be added for aggravating circumstances. The counts snail
                                                                                      be
     served consecutive to each other

             The defendant shau receive 264 days credit for time incarcerated prior to
     sentencing; said time was calculated from the 10" day of December. 2008 to the 31"
     day of August. 2009.

                 TheCou'n-Ld‘ises the defendant of his right to
                                        Ll   I
                                                                       W.
        >
            ‘.
                 DNA sampie amend as required by statute.

            m                           §6pgfom7mot August                   2009.

                                         ‘
                                  4.:
                      .-
                            J;     '
                                                 TWornas M. Hakos. Judge
                  I    ..
                                                  Huntington Circuit Court
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        l   certify that service of a true and complete copy of the above and foregoing Brief of
 Appellee was served by depositing the same in the United States Mail. properly addressed and
 with fushclass postage afﬁxed. this 20th day of January. 2010, to:


 Gregory F. Zoellet
 Indiana Attorney General
 Criminal Appeals Division
 C553 Government Ccmcr S.
 402 W. Washington Street
 Indianapolis. IN 46204-2770
 Attorney for ‘   M “lam
                                                               /<
                                                Jammy     .   :l
